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Attorney for Defendants Ehab S. Yacoub and Lorina A. Mikhaeil

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JAMES SHAYLER, Case No. 2:20-CV-01882 RAO

Plaintiff, | Assigned for all purposes to the Honorable
Rozella A. Oliver

-VS- MOTION FOR CONTINUANCE OF
PLAINTIFF’S MOTION FOR ATTORNEY
FEES

EHAB S. YACOUB, AN INDIVIDUAL;
LORINE A. MIKHAEIL ; AND DOES 1 [ROA 85]
THROUGH 10, INCLUSIVE

 

Defendants.

 

Defendants EHAB S. YACOUB and LORINE A. MIKHAEIL respectfully
requests that the previously scheduled hearing on Plaintiff's motion for an award of
attorney’s fees, currently set for a hearing on October 13, 2021 at 10:00 a.m. be
continued for a period of sixty (60) days.

On September 13, 2021 [ROA 84] this Court set a briefing schedule on
Defendant’s motion for an Order to Show Cause re: Vacatur of Judgment. The
party’s briefings are in place, but no hearing date has yet been set.

Defendants contend it would be premature to hold the hearing on Plaintiffs
motion for attorney’s fees in light of the fact that in the event Defendants’ motion is

granted, the award of attorney fees would no longer be proper as Plaintiff would no

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MOTION FOR CONTINUANCE (Dkt. 85)

 
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longer be the prevailing party.

Accordingly, Defendants respectfully requests this Court grant this motion and
continue the October 13, 2021, hearing for a period of sixty (60) days. A proposed
order is attached hereto.

Dated: October 6, 2021 KMB LAW GROUP

By: /s/ Kevin M. Badkoubehi

 

Kevin M. Badkoubehi, Esq.

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MOTION FOR CONTINUANCE (Dkt. 85)

 
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PROOF OF SERVICE

I, Kevin M. Badkoubehi:

Iam a citizen of the United States and employed in Los Angeles County, California. Iam
over the age of eighteen years and not a party to the within entitled action. My business address is
5850 Canoga Avenue, Suite 301 Woodland Hills, CA 91367

On September 30, 2021, I served a copy of the within document(s):

MOTION TO CONTINUE PLAINTIFF MOTION FOR ATTY FEES

 

BY MAIL: by placing the document(s) listed above in a sealed envelope with
postage thereon fully prepaid, the United States mail at Los Angeles, California
addressed as set forth below.

 

BY E-SERVICE: by transmitting via E-Filed by One Legal the document(s)
listed above to the following person(s) as designated on the Transaction Receipt
located on the One Legal website.

BY ELECTRONIC SERVICE: by transmitting via e-mail or electronic
transmission the document(s) listed above to the person(s) at the e-mail address(es)
set forth below.

 

 

 

 

 

 

Attorneys for Plaintiff
Anoosh Hakimi

Peter Shahryar

H&S Law Group, PLC
1800 Vine Street, Suite 804
Los Angeles, CA 90028

 

 

 

 

lam readily familiar with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the
party served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit.

Executed on September 30, 2021, at Woodland Hills, California.

I declare under penalty of perjury under the laws of the State of California that the above is
true and correct.

/s/ Kevin M. Badkoubehi
Kevin M. Badkoubehi

 

 

PROOF OF SERVICE

 
